UN|TED STATES BANKRUPTCY COURT
WESTERN D¥STR|CT OF TEXAS
NllDLAND DlVlSlON

lN RE: § CASE NO. 19-70014

Jose Angel Moreno §

Sylvia Ortega § Chapter 13
Debtor(s) §

CHAPTER 13 PLAN AND MOTIQNS FOR
VALUAT|ON AND LlEN AVO|DANCE

umwa

 

 

if you oppose the Plan's treatment of your claim or any provisions of this Planl YOU lVlUST Fli.E AN OBJECTION to
confirmation no later than fourteen (14) days before the connrmation hearing date.

Use of the singular word "Debtor" in this Plan includes the plural where applicable All section references ("§") are to the
Bankruptcy Code unless otherwise noted.

 

The following matters may be of particular importancel Debtors must check one box on each line to state whether or not the
Pian includes each of the following items. if an item is checked as "Not lncluded" or if both boxes are checked, the provision will

be ineffective if set out later in the Plan.

‘l. P|an Overview

 

1.1

A limit on the amount of secured claim based on valuation of collateral for the |z[ included |:| Not included
claim, set out in Sections 7.8 and 7.9, which may result in a partial payment or no
payment at all to the secured creditor

 

1.2

Avoidance of a wholly unsecured lien orjudiciai lien or nonpossessory, |:] included |z] Not included
nonpurchase-money security interest set out in Sections 7.9 and 7.10

 

1.3

 

 

Nonstandard provisions,setoutin SectionB E'[ included ij Notincluded

 

 

 

2.1

2.2

2.3

2. Pian Summary

Debtor's Plan payment will be $1,548.33 per month, paid by |:| 3rd Party Epay (if accepted by Trustee),
|j Payroll Order, or |Z[ Direct (Nloney Order or Cashier*s Check). Variable payments, if applicable are proposed as

foilows:

 

Months Amount of Nionthiy Payment

 

 

 

The term of the Plan is 60 months The gross amount to be paid to the Trustee (sometimes, the "base amount")
is $92,899.80 .
Under this Plan, the Trustee will pay all allowed priority claims in fu|l; ali allowed secured claims to the extent of the value

of the Co|lateral or the amount of the C|aiml Whichever amount is provided for in Sections 7.7 and 7.8; and approximately
4 % to allowed general unsecured claims The specific treatment for each class of creditors is set forth below in

the Plan.

This Plan does not allow claims. A creditor must file a proof of claim by the applicable deadline to receive
distributions under the plan as confirmed. Creditors are referred to the Federal Ru|es of Bankruptcy Procedure, the
Local Bankruptcy Ru|es for the Western District of Texas, and the Standing Order for Chapter 13 Administration for

this Division for information on procedures and deadlines.

The aggregate value of Debtor's non-exempt assets is: $0.00 .

 

 

 

Debtor

4.1

4.2

Jose Ange| Moreno Case number 19-70014

Sylvia Ortega
3. Vesting of Estate Property

|:| Upon Contirmation of the Pian, ali property of the estate SHALL vest in the Debtor, shai| not remain property of the
estate, and shall not be subject to the automatic stay of§ 362; provided however, in the event of conversion of this
case to chapter 7 the property of the Debtor as of the petition date should revest in the estate.

E'j Upon connrmation of the Planl all properly of the estate SHALL NOT vest in the Debtorl shall remain property of the
estate, and shall remain subject to the automatic stay of § 362.

4. Tax Refunds and Annual Tax Returns

Tax Refunds.

Al| tax refunds received by Debtor (or either Debtor if a joint case) while the chapter 13 case is pending shall be allocated
as set forth below;

1) The total amount of the aggregate tax refund(s) received for any tax period that exceeds $2,000.00 shal|, upon
receipt. be paid and turned over to the Trustee as additional disposable income and such amount shall increase the
base amount of the Plan. The Plan shall be deemed modified according|y, and the Trustee will hle a notice of plan

modification within 21 days of receipt of the tax refund;

2) This $2,000.00 annual limit shall apply to both joint-debtor and singte-debtor cases;
3) The $2,000.00 otherwise retained by Debtor must first be applied to any Plan arrearages;

4) Notwithstanding subparagraph (1) above, Debtor may tile a notice to retain the portion of the tax refund otherwise
payable to the Plan under subparagraph (1) with twenty-one (21) day negative notice as set forth in Loca| Rule
9014(a) ifl at the time of receipt of a refund, Debtor's Plan provides forthe payment of 100% of allowed general
unsecured claims within the term of this Plan. if the Trustee does not object within the twenty-one (21) day negative
notice period, Debtor may retain that portion of the tax refund.

The Trustee is hereby authorized to endorse a tax refund check if the check is made payable to Debtor.

Annual Tax Returns.

Debtor shall provide a copy of the annual post-petition income tax return to the Trustee if requested to do so or if required
to do so pursuant to the Standing Order for Chapter 13 Administration for the division in which this case is pendingl if
this is a joint case, each Debtor shall comply with this provision if separate returns are tiied.

5. Pre-Confirmation Adequate Protection Payments

Pre~confirmation adequate protection payments under § 1326(a)(1) and § 502(b) shall be made as provided beiow, and
pursuant to the Standing Order for Chapter 13 Administration for the division in which this case is pending:

A. Ail pre-confirmation payments if required by § 1326(c) and proposed below will be made by the Chapter 13 Trustee
without further order of the Court. Such payments shall be considered payments pursuant to § 1326(a) and

28 u.s.c. § sse(e)_

B. if the Debtor fails to make the required plan payments and funds on hand are not sufficient to pay all pre-
confirmation adequate protection payments due. then such payments shall be paid on a pro rata basis. with the
exception of ongoing monthly mortgage payments made by the Trustee.

C. Monthly pre-confirmation adequate protection payments will be calculated from the date the first plan payment is
due. To receive adequate protection paymentsl a secured creditor must have on Hte with the C|erk of the Couit a
timely Hled and allowed proof of claim. The proof of claim must include proof of the creditor's security interest and
shall be served on the Chapter 13 Trustee, the Debtor and Debtor's attorney. The Trustee wiii thereafter commence
disbursement of pre-connrmation adequate protection payments in the next regularly scheduled monthly
disbursement following the filing of the claim, subject to normal operating procedures

Debtor Jose At"igel MOrenO Case number 19-70014

Sy|vla Ort§ga

D. The Debtor proposes the foilowing pre-connrmation adequate protection ("AP") payments The Trustee shall apply
pre-confirmation adequate protection payments to accrued interest if applicable, and then to principa|. AP payments
shall cease upon confirmation of the Plan.

 

Creditor & Co|laterai Month|y AP interest Rate, Other Treatment
Payment if Claim is Remarks
Over Secured

 

 

 

 

 

 

6. Executory Contracts l Unexpired Leases f Contracts for Deed

6.1 Pursuant to § 1322(b)(i’) and § 365, Debtor hereby elects to assume the following executory contracts, unexpired
|eases, andlor contracts for deed as follows:

 

Creditor Property or Coritract Description Current ililonthiy
Payment to be Paid
Directiy by the
Debtor

 

 

 

 

 

6.2 Pursuant to § 1322(b)(7) and § 365, Debtor hereby elects to reject the following executory contracts, unexpired
teases, and!or contracts for deed:

 

Creditor Property

 

 

 

 

7. Treatment of Claims

7.1 Administrative Claims and Request for Attorney Fees.

The Trustee shall collect the allowed statutory Trustee fee upon receipt of all monies paid by or on behalf of Debtor. All
other administrative ciaims, including Debtor's attorney fees, shall be paid according to the terms of this Plan.

Upon confirmation of the Plan, the Court approves and awards $3,600.00 to Debtor's attorney as an adminstrative
claim for legal services performed in this case in accordance with the applicable benchmark. Debtor's attorney may Hie
applications for additional award of attorney fees pursuant to the Bankruptcy Code. Locai Bankruptcy Ru|es for the
Western District of Texas, and the Standing Order for Chapter 13 Administration for the division in which this case is
pending if additional monies are available, the Trustee may. within his or her discretion, disburse such funds to this

class on a pro rata basis. The Trustee shall disburse payments to the attorney as follows:

 

 

 

 

 

 

 

Debtor's Attorney Am ount of Fee Paid Payment Additionai
Through the Plan Method: Provisions
Jeanne Moraies, Attorney $2,600.00 Ej Standing Order
|:| Other

7.2 Priority Claims.

Ail allowed claims entitled to priority under § 507(a), except § 507(a)(2), shall be paid in full in deferred distributions by
the Trustee, uniess: (1) the holder of a particular ciaim agrees to a different treatment of such ciaim; or (2) such claim is
provided for under § 1322(a)(4). Unless the Plan provides otherwise, the distributions shall be made by the Trustee. if
the Plan identifies a creditors claim as a priority claim and the creditor nies the claim as a general unsecured claim, the
claim shall be treated as a general unsecured claim unless otherwise ordered by the Court. if any priority ciaim is filed
for a debt that was either not scheduled or scheduled as a general unsecured claim, the claim shall be allowed as a
priority claim unless otherwise ordered by the Court. Allowed priority ciaim(s) shall be paid without interest, unless
othenrvise ordered by the Court or unless specifically allowed under § 1322(b)(10) and provided for beiow.

The amount set forth in the Plan is an estimate and if the actual allowed claim is in a different amount. the amount to be
paid pursuant to the Plan shall be the amount due on the allowed claim.

Debtor

Jose Angel Moreno Case number 19-70014

Sylvia Orteg_a

Domestic Support Oblig§tions ("DSO"). The Trustee shall pay atl pre-petition DSO claims through the Plan unless the
Court orders othenivise. Debtor shall pay all DSO payments that accrue post-petition directly to the hoider, or the holder's

agentl pursuant to the terms of the DSO.

The Trustee shall disburse payments to the following creditors holding priority claims:

 

 

Creditor Description Est. Ciaim Est.
Amount Monthly
Payment

 

 

 

 

7.3

if additional monies are availabie, the Trustee may, within his or her discretion, disburse such funds to this class on a
pro rata basis.

Arrears on Assumed Executory ContractleeasesiContracts for Deed.

The Trustee shall disburse payments for arrears to creditors holding assumed executory contracts, leases, and/or
contracts for deedsl The amounts listed below by Debtor are estimates if a creditor files a proof of claim and the ciaim
for arrears or the ongoing monthly payment is in a different amount than stated beiow, the payments under the Plan shall

be based on the creditor's claim uniess a different amount is established by court order.

Those creditors holding claims within this class are as follows:

 

 

Creditor & Co|laterai Arrears & Treatment of Amount of Ongoing Monthly

Arrears Through the Plan Payment Through the Plan

 

 

 

7.4

Co|laterai to be Surrendered.

Upon the entry of an order confirming the Plan or an order modifying the Plan, the stay shall automatically terminate with
regard to the collateral surrendered Upon entry of such orderl the creditor shall have ninety (90) days from the date of
the order to file a ciaim or amended claim as to any deficiency balance that may remain, and such denoiency balance will

be paid as a general unsecured claiml Any such claim is subject to objection

Debtor surrenders the following collateral:

 

 

Creditor

Coliateral Location of Co|laterai

 

 

 

7.5

Creditors to be Paid Direct|y by Debtor (Other Than Nlortgage Creditors), by a Third Party, or by a Co-Debtor.
[USE ONLY lF THERE lS NO DEFAULT]

Creditors within this class shall retain their liens on the collateral that is security for the claim until the claim has been
paid in full as determined by the note and/or applicable non-bankruptcy law.

if certain claims are paid directly by Debtor to creditor, Debtor shall be deemed acting as a disbursing agent under the
Plan for payment of such ciaim. Such payments shaii be made in addition to the payments by Debtor to the Trustee and

are deemed to be payments made pursuant to the Plan.

The following creditors shall be paid directly by Debtor. a Third Party, or a Co-Debtor:

 

 

Creditorl' Debt Monthly Remarks identify
Co|laterai Owed Payment Payer

 

 

 

 

 

 

 

 

 

Debtor

7.6

Jose Ange| Morerio Case number 19-70014

Sylvia Ortega
Mortgage Creditors: Ongoing Mortgage Payments and Direct Mortgage Payments on Debtor's Principai Residence.

Unless the Debtor is current on the mortgage on the petition date, or otherwise provided for under PLAN PROV|S|ONS
8. Nonstandard Plan Provisions, the Trustee shall pay ali post-petition monthly mortgage payments to the mortgagee
Ongoing mortgage payments will be in the amount stated in the allowed proof of claim or pursuant to a Court Order. if
Debtor makes a Plan payment that is insufficient for the Trustee to disburse all ongoing mortgage payments required
beiow, the Trustee shall hold plan payments until a sufficient amount is received to make a full ongoing mortgage
paymentl Debtor shall provide to the Trustee all notices received from Mortgage Creditors including statements, escrow
noticesl default notifications, and notices concerning changes of the interest rate if a variable rate mortgage The
automatic stay is modified to permit Mortgage Creditors to issue such notices

The Trustee shall be authorized to make changes to the ongoing monthly mortgage payments based on Notice filed
pursuant to Bankruptcy Ruie 3002.1(b) and to pay fees, expensesl and charges based on Notice died pursuant to
Bankruptcy Ruie 3002.1(c). The Trustee may request that the Debtor his amended Schedules l and J, and the Debtor
shall do so on or within thirty (30) days after receiving such a request from the Trustee. if Debtor lacks the disposable
income to pay the ongoing mortgage payment, the Trustee may seek dismissall The Debtor or the Trustee may seek to
modify the Plan based on Debtor's current income Debtors ongoing mortgage payment obligations, or as otherwise

provided iri § 1329.

Alternatively, upon the filing by a Mortgage Creditor of a Notice pursuant to Bankruptcy Ruie 3002.1(b) or 3002.1(c), the
Trustee may file a Notice of increase of Plan Payment with the Court if the Trustee reasonably believes that, under the
circumstances the increased payment should be Debtor's responsibility The Trustee shall serve the Notice of increase
of Plan Payment on Debtor and Debtors counsel Such circumstances include but are not limited to: (1) increase in the
mortgage payment or claim for expense is caused by Debtor's failure to pay tax. insurance or other obligations to the
mortgagee that the Debtor was required to pay directiy; (2) cases in which the Debtor is paying less than the Debtor's full
disposable income because the Debtor has agreed to pay a 100% dividend to general unsecured creditors; and (3)
cases where, because of the increase due the Mortgage Creditor, the current Plan would fail to pay fully the amount
provided under the Plan to allowed secured, priority, and administrative claims and any required amount to be paid to
general unsecured claims under the terms of the confirmed Plan by reason of § 1325(a)(4) or otherwise

The amount set forth in a Notice of increase of Plan Payment shall become the modified Plan payment, and the Plan
base shall be correspondingly increased The Debtor must file a motion to modify Plan, supported by amended
Scheduies l and J as well as income verification, if the Debtor believes there is not, at that time, sufhcient disposable
income to pay the increased Plan payment or there is otherwise basis to amend the Plan rather than pay the increased
Plan payment. The Debtor's motion to modify Plan shall be filed no later than thirty (30) days after Trustee's Notice of

increase in Plan Payment is filed.

lt is possible that a change in the ongoing mortgage payment will affect the distribution to the unsecured creditors,
and this provision of the Plan shall serve as adequate notice of the possibility.

if Debtor is current as of the petition date and elects to pay the ongoing mortgage directly but subsequently defaults,
Debtor should file a motion to modify the Plan Within thirty (30) days of receiving notice of the default to provide for the
payment of the post-petition mortgage arrears. The future ongoing mortgage payments shall be paid by the Trustee.
The motion to modify the Plan must state the name. address, and account number of the Mortgage Creditor to whom
payments are to be made; the date the Trustee is to commence the ongoing mortgage payments; and the treatment of
the post-petition delinquency including the gap between the date when Debtor modified the Plan and the date on which
the Trustee is to commence the ongoing mortgage payments The Trustee may also file a motion to modify the Plan in

the event of a post-petition default

The Standing Order for Chapter 13 Administration for the division in which this case is pending as to ongoing mortgage
payments shall also apply.

For cause shown, Debtor may deviate from the procedures set forth in this provision of the Plan provided that Debtor sets
forth cause, with specificity, iri PLAN PROV|S|ONS 8. Nonstandard Plan Provisions. The Trustee and any party in interest
may object Debtor shall have the burden of proving at any hearing on confirmation of the Plan cause for such deviationl
Avoidance of administrative fees alone shall not be considered cause

Debtor

Jose Ange| Moreno Case number 19-70014
Sylvia Ortega

The amounts set forth below are Debtor's estimate and the allowed claim shall control as to the amounts Those
creditors holding a secured claim with ongoing mortgage payments are as follows'

 

 

Creditor Property Monthly interest Payment Due Paid By:

Address Mortgage Rate (for Date
Payment informational (per contract)

purposes only)

 

 

 

 

 

 

Bayview Loan Servicing, LLC house $664.00 0.00% -Trustee

7.7

(Conduit)

|:| Debtor
(Direct)

Secured Ciaims: Cure Arrears on Long Term Debt and Mortgage Arrears on Debtor's Principai Residence.

Arrears on long term debt and pre-petition mortgage arrearage claims shall be paid pursuant to the payment schedule
set forth beiow. Upon discharge, if the pre-petition arrears and the post-petition ongoing payments are current on
Debtor's Principai Residence, the default will be deemed cured and the note reinstated according to its original terms,
including the retention of any security interest The pre-petition arrears set forth below is an estimate only and the
Trustee shall pay the pre-petition arrears based on the proof of claim as filed by the creditor, unless a different amount is

allowed pursuant to a court order.

if there are insufficient funds to pay the monthly payment to claims within this ciass, creditors in this class shall be paid
on a pro rata basis if additional monies are availabie, the Trustee may. within his or her discretion, disburse such funds

to this class on a pro rata basis

The following secured creditors hold claims for arrears in this class:

 

 

Creditor Co|laterai Estimated Monthly interest Rate Remarks

Description Arrearage Payment or (if applicabie)
Method of
Distribution

 

 

 

 

 

 

Bayview Loan Servicing, house $3,320.00 Pro-Rata 0.00%

LLC
7.8

Secured Ciaims: Treatment of Ciaim and Motion to Value Co|laterai Pursuant to § 506; and 910 Day Ciaimslt Year
Ciaims.

Creditors within this class shall retain their liens on the collateral that is security for their claims until the earlier of: (1) the
date the underlying debt, as determined by non-bankruptcy lawl has been paid in fuii; or (2) the date discharge is entered
under § 1328. if the case is dismissed or converted without completion of ali Plan payments the liens shall be retained
by the creditors pursuant to applicable non-bankruptcy iaw.

Debtor moves to value the collateral described below in the amounts indicated The values as stated below represent
the fair market value of the collateral pursuant to § 506(a)(2). Objections to the valuation of collateral proposed by this
iV|otion and the Plan must be filed no later than fourteen (14) days before the confirmation hearing date. if no timely
objection is fried, the relief requested may be granted in conjunction with the confirmation of the Plan.

The Trustee shaii pay the allowed secured claims, which require the filing of a proof of ciaim, to the extent of the value of
the collateral or the full payment of the claim as speciHed belowl plus interest thereon at the rate specified in this Plan.
Failure of the secured creditor to object will be deemed acceptance of the plan under § 1325(a)(5)(A). Except for
secured claims for which provision is made to pay the full amount of the claim notwithstanding the value of the coilateral,
the portion of any allowed claim that exceeds the value of the collateral shall be treated as an unsecured claim under

Section 7.1 1 below.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor Jose Ange| Moreno Case number 19-70014
Sylvia Ortega_
Creditorl' Amount Fair interest Equal Unsecured 910
Co|laterai Description of Debt Market Rate Monthly Ciaim Ciaim?
(Est) Vaiue Payment ***
Chrysler Capita| $30,560.90 $30,560.90 8.00% Pro-Rata $0.00 g

2017 Dodge Caravan
*** Debtor indicates by notation ( |Z[ ) that the collateral which secures the claim was purchased within 910 days if a vehicle or
within 1 year if personal property pursuant to § 1325(a) (hanging paragraph).
if additional monies are available the Trustee mayl within his or her discretion, disburse such funds to this class on a
pro rata basis

if any secured proof of claim is timely filed for a debt that was either not scheduled or scheduled as unsecured, the claim
shall be allowed as secured unless otherwise ordered by the Court. Said claim shall be paid under the Plan with
interest at 8 % per annum and shall be paid on a pro rata basis as funds become available after payment of any

fixed equal monthly payments payable to other secured creditors listed above

7.9 Whol|y Unsecured Ciaims.

 

NOT|CE OF DEBTOR'S lNTENT|ON TO STRIP A WHOLLY UNSECURED L|EN

Debtor proposes a Chapter 13 plan that strips your lien secured by real property to a wholly unsecured claim. The Plan
alleges that the value of the real property is less than the amount owed on ali liens that are senior in priority to your iien.
Your claim will receive no distributions as a secured claim but will receive distributions as a general unsecured claim.

if you disagree with the treatment proposed by the Plan that will terminate your lien and that will pay your claim as a
general unsecured claim, you must file an objection to the Plan no later than fourteen (14) days before the confirmation
hearing date. if you fail to object, the Bankruptcy Court may approve the Plan without further notice.

Upon entry of a Discharge Order, the holder of the lien is required to execute and record a full and unequivocal release of
its liensl encumbrances and security interests secured by the real property and to provide a copy of the release to the
Trustee, Debtor, and Debtor's counsel. Notwithstanciing the foregoing, the holder of a lien that secures post-petition
homeowners' association fees and assessments will be allowed to retain its lienl but only to secure (ii post-petition
assessments; and (ii) other post-petition amounts, such as legal fees, if such post-petition amounts are incurred with
respect to post-petition fees and assessments and are approved by the Court, if incurred during the pendency of the

bankruptcy case.
This provision does not apply if a secured creditor does not file a proof of claim.

Notice ofthis Plan provision must be provided by the Debtorto the secured creditor in accordance with Fed. R. Bankr. P. 7004.

 

 

The following claims shall be paid as a general unsecured claim as there is no equity in the collateral to secure the
ciaim.

if the case is dismissed or converted without completion of ali Plan payments the liens shall be retained by the creditors
pursuant to applicable non-bankruptcy iaw.

Those creditors holding secured claims that are wholly unsecured and are within this class are as foiiows:

 

Creditor Col|ateral Fair Market Amount of
Vaiue Senior Lien(s)

 

 

 

 

 

7.10 Motions to Avoid Lien Pursuant to § 522(f}.

The Bankruptcy Code allows certain liens to be avoidedl if a lien is avoided, the creditor's ciaim, to the extent ailowed,
will be treated as a general unsecured claim under Section 7.11. The amount of the debt set forth in the Plan is Debtor's
estimate and if the actual allowed claim is in a different amount, the unsecured amount to be treated pursuant to the Plan

shall be the amount due on the allowed claim.

 

 

 

Case number 19-70014

 

 

 

 

 

 

 

 

 

 

Debtor Jose Angei Moreno
Sylvia Ortega
if the case is dismissed or converted without completion of ali Plan payments the liens shall be retained by the creditors
pursuant to applicable non-bankruptcy iaw.
Debtor moves under § 522(f) to avoid the following liens that impair exemptions Objections to this treatment must be
nied no later than fourteen (14) days before the confirmation hearing date if no timely objection is nied, the relief
requested may be granted in conjunction with the confirmation of the Plan. (Debtor must list the specific exempt property
that the lien impairs and the basis of the iien--e.g. judicial lien. non-PiVlSl. etc.).
Creditor Property Subject to Lien Secured Type of Lien
Lien Amount to Amount
be Avoided Remaining
7.11 Genera| Unsecured Ciaims.

Creditors within this class hold general unsecured claims that are not otherwise provided for in the Plan, including but
not limited to creditors‘ unsecured claims arising by reason of lien avoidance or lien stripl rejection of executory contracts
or leases or bifurcation of a claim. Payments to holders of allowed claims within this class shall be disbursed on a pro
rata basis and shall be disbursed after payment of other creditors The amounts set forth as unsecured claims in
Debtor's schedules are estimates on|y, and payments to holders of allowed general unsecured claims shall be based

upon allowed claim amounts

 

Debtor Jose Angel Moreno Case number 19-70014

Sylvia Ortega

8. Nonstandard Plan Provisions
Nonstandard Plan Provisions

The following Plan provisions will be effective only if there is a check iri the box in Section 1.3 of the Plan.

 

Direct payments to Creditor:
Debtor will pay taxes for 2019 and beyond.

 

 

 

Fai|ure to place any nonstandard provision in this section results in the nonstandard provision being void.

i certify that ali nonstandard plan provisions are contained in this section of the Plan.

lsl Jeanne Morales Date:
Debtor's Attorney or Pro Se Debtor
State Bar No. 24002640

lsi Jose Angei Mcreno
Debtor

lsi Sylvia Ortega
Joint Debtor

Certificate of Service

Debtor shall be responsible for service of the Plan on the Trustee and all parties in interest

UN|TED STATES BANKRUPTCY COURT
WESTERN DlSTR|CT OF TEXAS
M|DLAND DlVlSION

iN RE: Jose Angel Moreno CASE NO. 19-70014
Debtor

Sylvia Ortega CHAPTER 13
Joint Debtor

CERT|F|CATE OF SERV|CE

 

i, the undersigned, hereby certify that on lillarch 14, 2019, a copy of the attached Chapter 13 Plan, with any

attachments was served on each party in interest listed beiow, by placing each copy in an envelope properly addressed

postage fully prepaid in compliance with Locai Ruie 9013 (g).

lsi Jeanne illlorales
Jeanne illlorales

Bar iD:24002640

Jeanne Morales, Attorney
P.O. Box11043

li!|idiandl TX 79702

(432) 682-8855

 

Attorney General of Texas Gary Norwood l‘vliciiand iViemorial Hospitai
P.O. Box 12548 Chapter 13 Trustee 2200 W. illinois Ave
Austin, TX 78711-2548 P.O. Box 2331 Nlid|and, TX 79701

Attorney Generai of the U.S.
Department of Justice

950 Pennsylvania Ave., N.W.
Washington, DC 20530

Bayview Loan Servicing, LLC
5th Fioor Niaii Room

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i\iliami, FL 33146

Chrysier Capitai
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Nlid|and, TX 79702

Hughes Watters Askanase, LLP
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Houston, TX 77002

internal Revenue Service
Centraiized insolvency Operations
PO Box 7346

Phi|ade|phia, PA 19101-7346

Jose Angei iVloreno
4700 Laura
Mid|and, TX 79703

Personai Credit Plan
3308 W. illinois
lViidland,TX 79703

SBA
1205 Texas Ave., Rm 408
Lubbock, TX 79401

Security Finance
204 S. Goliad
Big Spring, TX 79720

UN|TED STATES BANKRUPTCY COURT
WESTERN DlSTR|CT OF TEXAS
|V|lDLAND DlViSlON

lN RE.' Jose Angel Moreno CASE NO. 19-70014

Debtor

Sylvia Ortega CHAPTER 13
Joint Debtor

CERT|F|CATE OF SERV|CE
(Continuation Sheet #1)

Texas Comptroiier of Pubiic Accts. VA Regionai Office
P.O. Elo>< 13528 Office of District Counsel (02)
Austin, Texas 78711-3528 1400 N. Valley l\/iilis Dr.

Waco, TX 76799

Texas Credit Corp 002 Worid Finance
4096 N. Texas Ave. 2207 N Big Spring Street
Wesiaco, Texas 78595 lViidland. TX 79705

Texas Finance
1401-B N. Larnesa
lViidiand, TX 79765

Toiedo Finance
217 S. Main St
Bryan, TX 77803

TX Empioyment Commission
TEC Bidg.- Bankruptcy

101 E_ 15th St.

Austin, TX 78778

U.S. Trustee
P.O. Box 1539
San Antonio, TX 78295- 1539

United States Attorney
601 N.W. Loop 410 Ste. 600
San Antonio, TX 78216

